       CASE 0:19-cr-00294-PJS-LIB Document 44 Filed 07/17/20 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,

       Plaintiff,
                                                  Criminal No. 19-294(1) (PJS/LIB)
v.
                                                      COMPETENCY ORDER
Robert Vaughn Evans,

       Defendant.


Laura M. Provinzino, Assistant United States Attorney, 300 South Fourth Street,
Minneapolis, MN 55415, counsel for Plaintiff.

Douglas Olson, Assistant Federal Defender, 300 South Fourth Street, Minneapolis, MN
55415, counsel for Defendant.



       Counsel for the defendant has filed a motion for a competency evaluation based on

his belief that the defendant may be suffering from a mental disease or defect which renders

him unable to understand the nature and consequences of the proceedings against him and

to assist properly in his defense. The government does not oppose this request. Therefore,

the Court orders, pursuant to Title 18, United States Code, § 4241(a), that a hearing be held

to determine the defendant’s competency to stand trial.

       Prior to such hearing, the Court orders as follows:

1.            Defendant shall be committed to the custody of the Bureau of Prisons, to be

              examined for competency for a period not to exceed 45 days. The BOP is

              encouraged and requested to explore whether the competency evaluation can
     CASE 0:19-cr-00294-PJS-LIB Document 44 Filed 07/17/20 Page 2 of 2




                                       2
           be conducted either locally or by ZOOM video conferencing, to avoid

           unnecessary travel and quarantining of Mr. Evans during the COVID-19

           pandemic;

2.         If necessary to conduct the evaluation elsewhere, the United States Marshal’s

           Service shall transport the defendant as soon as is practicable;

3.         The Bureau of Prison shall conduct a psychiatric or psychological

           examination of the defendant to determine his competency within the

           meaning of 18 U.S.C. § 4241;

4.         The Bureau of Prisons shall file a psychiatric or psychological report with

           the Court pursuant to 18 U.S.C. § 4247(c);

5.         A hearing pursuant to the provisions of 18 U.S.C. §§ 4241(c) and 4247 shall

           be scheduled by the Court upon the completion of the evaluation and report.




Dated: 7/17/20
                                           Honorable Patrick J. Schiltz
                                           United States District Court Judge
